Case 1:09-Cv-00597-LI\/|B-TCB Document 41-25 Filed 10/23/09 Page 1 of 6 Page|D# 781

EXHIBIT X

Case 1:09-cv-00597-Li\/|B-TCB Document 41-25 Filed 10/23/09 Page 2 of 6 Pa@e$©# 332

Roth, Me|issa R.

From: Candess Hunter [candess@hhy|aw.com]
Sent: Tuesday, October 20, 2009 12:51 PN|
To: Dickinson, lvliche||e J.

Subject: RE: the iaptop

Nlichelle, l received your letter of Oct. 16 by mail today. What a lot of revisionist history it containsl

The actual events are quite simp|e. On or about Sept. 10 you and your client were told that NE| had Joe's iaptop
and that he wanted it returned immediately You were aiso told that your client's iaptop was in our office, and we
offered to return it immediately After you realized that the iaptop in NE|‘s possession in our building was Joe's
(and you knew that Joe wanted it back asap) then you and/or your client spirited Joe‘s laptop out of the building
and took it out of state without permission A month passed as you continued to stalll make excuses and put
conditions on your return of Joe's laptop. You deliberately deprived Joe of possession of his property for over a
month That is what we here in AZ call theft

l have to tell you a true story. l\/ly daughter is also an attorney in AZ, and she had a witness in a case that was in
jail, and the sheriff failed to transport the woman to court. l asked why the Woman was in jail and learned that the
woman had a boyfriend who always left his car unlocked and his keys under the seat of his car while he was at
work. He had told that woman that if she needed transportation she could use his car but it had to be back when
he got off work. Some time later the woman had a need for transportation and borrowed his car from his place of
work. When he came out of work...no car. He called the poiice, and while the police were standing therel she
drove up with his car to return it. She is now doing 2 years in jail for the theft of that car!li in AZ we frown upon
folks taking other people's property without permission

Candess J. l-lunterl Esq.

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-- Origina| |Vlessage ----
From: CJH

To: “Dickinsonl Niichel|e J."
Sent: 10115/2009 3:39PM
Subject: RE: NE| iaptop

l\ii|chelle, attached is an Acknow|edgement of Receipt signed by your law hrrn's AZ receptionist Pau|a Hawley,
acknowledging the receipt of NE|‘s laptop.

The police have been notified that your clientl with your help, has stolen Joe's iaptop and transported the stolen
iaptop out of state. We demanded its return Septernber 10. lt was right here in our building when you learned
that it was Joe's iaptop and that he wanted it back immediately After that, you andfor your client spirited it out of
the building and transported it accross state lines You have spent the last 35 days making excuses on why you
didn't return it. l don‘t know about yourjurisdiction, but in AZ, if a lawyer aided and abetted a client in a theft (and

10/23/'2009

Case 1:09-cv-00597-Li\/|B-TCB Document 41-25 Filed 10/23/09 Page 3 of 6 Pag§ép§i 318§5

then encouraged the client to transport the stolen property across state |ines) the AZ state bar would frown on
that.

We are done footing around with this. lt is now a police matter. i won't be surprised if you and your client are
arrested when you arrive in AZ.

Candess J. l-lunterl Esq.

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--- Origina| lVlessage ----
From: CJH

To: "Dickinson, lVlichei|e J."
Sent: 10/‘|5/20091:13PM
Subject: RE: NE| iaptop

Wrong. Read my lips - The NEl iaptop WlLL NOT remain in our office for one more day. Your time is up.

Candess J. Hunter, Esq.

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---- Origina| lVlessage --»
From: “Dici<inson, Niiche||e J."
To: "Candess i-lunter"

Sent: 10115/2009 12:44Pi\)l
Subject: RE: NE| iaptop

l did not see this emaii before | sent my last ernai|. l assume ali issues are taken care of and you will provide us
with a date and time for the exchange and imaging of_the tower.

From: Candess Hunter [mai|to:candess@hhy|aw.com]
Sent: Thursday, October 15, 2009 3:19 PM

To: Dickinson, Miche||e J.
Subject: NEI iaptop

10/23/2009

case 1:09-cv-00597-Li\/ie-TCB Document 41-25 Fiied 10/23/09 Page 4 or s Pei’gsiij#@i§¢i

Oniy 45 minutes to go andl if i don‘t hear from youl l will make the choice for you. Either it will go to NE|‘s
office here in our building or to the DLA Piper office in AZ (that i can see out my window). lVial<e the choice
in the next 45 minutesl or |'il make it for you. No more foo|ing around

Candess J. Hunter, Esq.

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--- Originai Message ----
From: CJH

To: "Dickinson, i\/iicheiie J."
Sent: 10115/2009 10:30AM
Subject: RE: FW: Re: NEl iaptop

Micheiie, isabel is out of the office today, but | saw this emaii and must respond You were informed on
September ‘iO that NEl was in possession of Joe‘s iaptop, that it had no NEl data on it and that Joe wanted
it back immediately The iaptop was in this building in AZ, but you and NEl refused to return it and to make
matters worse, NEl removed it from the building and from Arizona (interstate transportation of stolen
goods). Now over a month iater, you finally send this emaii, acknowledging that everything Joe told you
about the iaptop was true. Let me make myself clearl you are holding stolen property The police are
being notihed. You can make ali of the excuses that you want to, but continuing to hold someone else's
property after they have demanded its return is theft took it up.

Regarding NE|‘s computerl we have tried to return it to youl but you have not agreed to accept it. We tried
to deliver it to NEl right here in the building (as they are moving out) but they refused it, claiming they had
to talk to "their iawyer" first iW|i_L NOT KEEP TH|S COMPUTER |N Ti-i|S OFFlCE FOR ANOTHER
DAY. |t‘s your choice, either NEl accepts it downstairs ori will personally deliver it to the DLA Piper office
at 1 pm AZ time today. Your choice ifi don‘t hear from you in the next two hours, l will make the choice

for you.

Candess J, l‘iunterl Esq.

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10/23/2009

Case 1:09-cv-00597-Li\/iB-TCB Document 41-25 Fiied 10/23/09 Page 5 of 6 Pageaiégn§jo§§

From: "Dickinson, Nlichei|e J."
To:

Sent: 10114/2009 5:31PM
Subject: Re: NEl iaptop

Isabei,

Our computer consultants have determined that there is no NEl data on the iaptop that Joe returned to NEl a year ago.
Accordingly, we arc prepared to make arrangements for the exchange of the iaptops and imaging of the tower. P|ease
advise as to when Joe can get the tower out of storage for imaging so that we can set this up.

Michclle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(4|0) 580-4137 Direct Phone
(4|0) 580-3137 Direct Fax
michelie.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Originai Message -----

From: Isabel M Humphrey <isabel@hhylaw.com>
'I`o: Dickinson1 Micheiie J.

Sent: Wed Oct 14 i4:49:12 2009

Subject: RE; NEI Iaptop

Micheiie, we are not comfortable continuing to hold onto NEl's laptop. I repeatedly tried to get instructions from you
to return it, and you would not give me the name ot` someone at NEl authorized to accept it. You said you would send
a computer consultant last week to pick it up, but we have heard nothing We just sent a staff member downstairs to
NEI's office to return it, and they refused to accept it. lt` you don‘t make other arrangements by the end of today, we
will put the iaptop in a FedEx box and ship it to you,

in the meantime, Joe has contacted police regarding NEI‘s continued refusal to return his laptop.

isabel M. I-lumphrey, Esq.

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